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|| STATE oF OHIO )
|| } 86s
MAHONING COUNTY }

| IN THE GRAND JURY
| CASE NO. 16 CR 342

| DATE: April 7, 2016
| PLACE: Grand Jury Room

Mahoning County Courthouse
Youngstown, Ohio

‘|| PRESENT: Shawn F. Burns

Hy On Behalf of the State of Ohio

Detective Sergeant Patrick Kelly, Witness
The Mahoning County Grand Jury

Diane M, Kerchofer, RPR
Official Court Reporter

* * * * * * *

EXHIBIT OFFICIAL SHORTHAND REPORTERS
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WHEREUPON,

DETECTIVE SERGEANT PATRICK KELLY,

who, being first duly sworn testified

as follows:

'|| Examznarron
‘|| BY MR. BURNs:

i Q Good morning, Detective. Could you state
fl your full name and spell your last name for the record,

|] please?

WA Detective Sergeant Pat Kelly, K-E=jj-te¥.
lo Detective, we're here today in the matter of

|| the State of Ohio versus Kalilo Robinson. Shawn Burns
i} on behalf of the Mahoning County Prosecutor's Office.
| We're Seeking an indictment on the following counts:

Count One, obstructing justice, whereby the state is

|} alleging that Kalilo Robinson did with purpose to

| hinder the discovery, apprehension, prosecution,

| commbebion, punishment of another for a crime, or to

| assist another to benefit from the commission of a

| crime by communicating false information to any person.

| And Count Two, Similarly, with the difference that

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| we're asking that —— we're seeking an indictment that
he assisted another to benefit from the commission of a
I crime by the destruction or concealing the physical
evidence. [In this case it would be his testimony which
H had previously been given. And Count Three, tampering
with evidence, that he did knowingly in an official

| Proceeding or investigation likely to be instituted,

| concealed or remove a certain thing for the purpose to
| impair its value or availability as evidence. In this
| case it would be the testimony that he was ordered to

‘Il give.

Detective, how did you become acquainted with

| the defendant in this Matter, Kalilo Robinson?

| A I investigated a homicide. It happened in

| Thanksgiving a couple years ago. We had found a male

I black Subject shot about three times in the back of the
{| head on the north side. Through my investigation I

ll Zouna that it was Kalilo Robinson and Marquan White

i were the two people who were last with the victim.

i Kalilo agreed to be a witness for us, and he told us
hithat they were walking on Galaida and Marquan took a
gun out and shot the guy in the back of the head and

; then stood over top of him and shot him two more times

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i to the head.

Through the course of the investigation I
found out that they were at this house, all three of
them together, left the house walking, and that's what
happened when he shot him. Yesterday we had a pretrial
and Kalilo Robinson invoked his Fifth Amendment right
and refused to testify as a witness.

9 Was that done on the record?

A That was on the record.

4 ea And the statements that you took from him
previously, were those all recorded?

| A One was recorded, and one was with the court
|| stenographer on a proffer. So we have two statements
|| of Kalilo Robinson.

Q And could you just briefly tell the grand

‘| jurors what you mean by a proffer?

| A It's official. It's with a court reporter.

There's an attorney there. There's a prosecutor there,

jj and I'm there, and we were able to question him. And
|| so he was able to give both sides of the story.

| ° And, in fact, we were taking his statement in

exchange for his cooperation and agreement not to

charge him in regard to that matter?

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|

A Correct. The reason that being is the actual
I shooter and Kalilo are completely different looking.

| The shooter is light skinned and Kalilo is very dark

| skinned, and we have a witness who saw right after the
| shooting the light-skin male running with the gun and
| the dark-skin male running behind him like seconds

| | after the shooting. So that's why I felt comfortable

| going to Kalilo and getting him to be a witness. And

| when he did that yesterday, it just put a halt to the
il case.

iP Let's talk a little bit about more in detail

what happened yesterday. We brought him into court and

| he was put on the witness stand and put under Cabby is

that correct?

A Correct. And he invoked his Fifth Amendment
right, which was kind of crazy ‘cause he's a witness,
SO.

Q And then once he invoked his Fifth Amendment
right, what happened next?

A The prosecutor's office gave him immunity —-
offered him immunity.

o Was that done in writing?

A Yes. I believe you gave it to him, his

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| [| attorney, the defense attorney for the actual shooter,
I and the judge, so. And he still refused to testify.

| Q Anything else you'd like to add as far as the
a facts surrounding the incident from yesterday?

| A No, that's about it. The only thing is that
| It was kind of taken back when he invoked his Fifth

| Amendment right because he is a witness. Usually when
| you invoke your Fifth Amendment right, you have

| Something to hide. and that kind of Stopped it right
| there. The trial was done right there at that point.
| Q ‘And throughout -- and throughout the

il conversations you had with him as well as the recorded
| Statement and the one that was not recorded, it was

IW always made clear that his testimony was essential in

|| this case?

yA Correct.
Q And that everything that was being done with
regard to giving him —~ with agreeing not to charge him

i consideration of that fact?
1 A Correct.
io And just so we're clear finally, the evidence

|} that we're talking about that he's concealing in this

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| matter, is it the physical testimony that he was to

| provide in court?

| i A Yes, because he was actually, for lack of a
ft better word, an eyewitness. He was right there. Tt
| was the victim, shooter, Kalilo Robinson.

: MR. BURNS: Okay. That's all I have at

this time. Any questions? Okay. Thank you.

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REPORTER'S CERTIFICATE

I HEREBY CERTIFY that the above and
foregoing is a true and correct transcript of
the Proceedings had in the grand jury of the
within-named Case as shown by my stenographic
notes taken by me during the grand jury and
at the time the evidence was being

introduced.

DIANE M, KERCHOFER, RPR
OFFICIAL COURT REPORTER

DATE:

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